Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 1 of 23




                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

   JAMES B. RILEY, as personal
   Representative of the ESTATE
   OF BARRETT RILEY, deceased,
                                                               CASE NO. 20-CV-60517-RS
          Plaintiff,

   v.

   TESLA, INC., d/b/a TESLA
   MOTORS, INC.

         Defendant.
   ________________________________/

                   DEFENDANT TESLA, INC, d/b/a TESLA MOTORS, INC’s
                               TRIAL EXHIBIT LIST

          Defendant, TESLA, INC., d/b/a TESLA MOTORS, INC., pursuant to the Amended

   Scheduling Order entered on January 20, 2021, hereby files its Trial Exhibit List.

    PRESIDING JUDGE           DEFENDANT'S ATTORNEYS                PLAINTIFFS' ATTORNEYS

    Hon. Rodney Smith         Vincent Galvin                       Curtis Miner
                              Robert Rudock                        Patrick Montoya
                              Whitney Cruz                         Denise Georges
                              Wendy Lumish                         COLSON HICKS EIDSON
                              BOWMAN AND BROOKE LLP

    TRIAL DATES(S)            COURT REPORTER                       COURTROOM DEPUTY

    Two-week trial period
    beginning Oct. 12,
    2021
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 2 of 23




                EXHIBITS DEFENDANT EXPECTS TO OFFER AT TRIAL

    NO.           DESCRIPTION OF EXHIBIT                    DATE    OBJECTIONS    ADMITTED
                                                           OFFERE
                                                             D
    1     Fort Lauderdale Police Department – Vehicle
          and Scene Photographs
    2     Broward County Medical Examiner - Scene
          Photographs
    3     Broward County Medical Examiner - File re
          Barrett Riley (ME Case No. 18-1412)
    4     Court documents and Traffic Citations A9P65IE             B, H, R, UP
          and A9P65HE re Barrett Riley dated March 3,
          2018.
    5     James Walker Deposition Exhibit 3: Calculation
          summary
    6     James Walker Deposition Exhibit 5: Max speed
          analysis
    7     James Walker Deposition Exhibit 8: Path radius
          with EDR
    8     James Walker Deposition Exhibit 9: Path
          Radius
    9     James Walker Deposition Exhibit 10: Recon
          Diagram
    10    James Walker Deposition Exhibit 13: Vector -
          Pole & Trees
    11    James Walker Deposition Exhibit 14: Vector -
          Pole & Trees
    12    James Walker Deposition Exhibit 15: Vector -
          South Wall Impact
    13    James Walker Deposition Exhibit 16: Wall
          Dimensions and Orientation
    14    James Walker Deposition Exhibit 28: 9233                  H, D
          Accident Reconstruction Summary
    15    James Walker Deposition Exhibit 33: EDR
          Analysis
    16    James Walker Deposition Exhibit 35: Tesla EDR
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 3 of 23




    NO.            DESCRIPTION OF EXHIBIT                    DATE    OBJECTIONS       ADMITTED
                                                            OFFERE
                                                              D
    17    James Walker Deposition Exhibit 37: Walker                 H, I
          Report
    18    James Walker Deposition Exhibit 38: Walker
          Momentum West Curb
    19    James Walker Deposition Exhibit 39: Caldwell
          Momentum North Curb
    20    James Walker File (02) Produced to Plaintiff -             H, R (as to
          Vehicle Inspection Photos and Notes (9.11.20)              Notes)
    21    James Walker File (03) Produced to Plaintiff -             H, R (as to
          Exemplar Inspection Photos, Scan Data and                  Notes)
          Notes (4.8.21, 4.9.21 and 4.12.21)
    22    James Walker File (04) Produced to Plaintiff -
          Scene Inspection Photos and Video (9.10.20)
    23    James Walker File (05) Produced to Plaintiff -
          Scene Inspection Photos and Video (3.25.21)
    24    James Walker File (06) Produced to Plaintiff -             H, R (as to
          Scene Inspection photos and Notes (3.25.21)                Notes)
    25    James Walker File (08) Produced to Plaintiff -             H, R (as to
          EDR Report and Analysis                                    Analysis)
    26    James Walker File (09) Produced to Plaintiff -
          Google Earth Images
    27    James Walker File (10) Produced to Plaintiff -             D
          CEI 2D Reconstruction
    28    James Walker File (11) Produced to Plaintiff -             D
          CEI 3D Reconstruction
    29    Surveillance videos and video analysis of Tesla
          driving on A1A
    30    3D model of crash-involved 2014 Tesla Model S              V, D
    31    3D model of crash-involved 2014 Tesla Model S              V, D
          battery
    32    3D model of exemplar 2014 Tesla Model S                    V, D
          battery
    33    Google Earth images of crash scene
    34    CEI drive-through video of crash scene                     V, D
    35    3D model of crash scene                                    V, D
    36    EDR report and analysis                                    V, H, R (as to
                                                                     analysis)
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 4 of 23




    37   Lateral acceleration calculations
    38   2D reconstruction drawings                         V, D
    39   2D curve measurements                              V, D
    40   Momentum analyses
    41   Photogrammetry alignment images
    42   3D reconstruction drawings                         V, D
    43   3D damage analyses – vehicle                       V, D
    44   3D damage analyses – battery                       V, D
    45   3D impact alignment images                         V, D
    46   3D interactive model of pre-crash vehicle motion   V, D
         and crash sequence
    47   Elizabeth Raphael File - Body Dimension /          V, D
         Diagram Analysis)
    48   Elizabeth Raphael - Vehicle Inspection Photos      H, R (as to
         and Notes                                          Notes)
    49   Elizabeth Raphael - Medical Summaries              H, I
    50   Elizabeth Raphael Expert report and CV             H, I
    51   Occupant seating chart
    52   Barrett Riley medical records, radiology and
         photos from Broward County Medical Examiner
    53   Generator of Body Data (DEBOD) Figure              V, D
    54   Edgar Monserratt medical records, radiology and
         photos from Broward County Medical Examiner
    55   2-D and 3-D Anatomical models to describe          V, D
         injuries
    56   Ashish Arora Deposition Exhibit 1 - Arora CV       H, I
    57   Ashish Arora Deposition Exhibit 3 - Arora          H, I
         Report (May 2021)
    58   Ashish Arora Deposition Exhibit 4 - TESLA-
         00003766
    59   Ashish Arora Deposition Exhibit 5 - Photo DSC-
         1132
    60   Ashish Arora Deposition Exhibit 6 - Photos
         DSC-1123
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 5 of 23




    61   Ashish Arora Deposition Exhibit 7 - TESLA-
         00006134
    62   Ashish Arora Deposition Exhibit 8 - Photo
         1210205
    63   Ashish Arora Deposition Exhibit 9 - Photo
         121029
    64   Ashish Arora Deposition Exhibit 10 - TESLA-
         00003488
    65   Ashish Arora File Produced to Plaintiff (IIHS
         Small Overlap Test Report re 2016 and 2017
         Tesla Model S, Photos, Videos)
    66   Ashish Arora File Produced to Plaintiff
         (Inspection Photos - Cell Cap)
    67   Ashish Arora File Produced to Plaintiff
         (Inspection Photos- Exemplar Battery)
    68   Ashish Arora File Produced to Plaintiff
         (Inspection Photos - Exemplar Cell CT)
    69   Ashish Arora File Produced to Plaintiff
         (Inspection Photos - 1.21.21)
    70   Ashish Arora File Produced to Plaintiff
         (Inspection Photos - 9.11.20
    71   Mock-up of battery pack                           V, D
    72   Ashish Arora File Produced to Plaintiff           V, H, R
         (References)
            - Battery Failure Databank
            - NCR18650BB UL Listing
            - Panasonic NCR 18650B
            - U8263254
            - US2010013642A1
    73   Thermal runaway testing TESLA00006133
    74   UNR-100 Testing of the Tesla Model S battery
         pack TESLA00006267-TESLA00006306
    75   UNR-100 Testing of the Tesla Model S battery
         pack TESLA-00006267 – TESLA-00006306
    76   Product spec sheet for NCR18650BB TESLA-
         00006314 – TESLA-00006335
    77   Certification sheet UL 1642 TESLA-00006336
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 6 of 23




    78   Panasonic certification UN38.3    TESLA-
         00006337
    79   Tesla abuse testing 1/27/17 TESLA-00006919
         – TESLA-00006921
    80   Certificate of compliance with UN38.3 TESLA-
         00006933
    81   Altitude, shock, thermal, and vibration module
         testing and certification TESLA-00006954 –
         TESLA-00006958
    82   PE13037 TESLA-00006960 – TESLA-
         00007150
    83   Single cell thermal runaway initiation procedure
         TESLA-00007263 – TESLA-00007377
    84   Thermal runaway testing from 7/18/2012
         TESLA-00006133
    85   Jack Ridenour Deposition Exhibit 1: Report of      H, I
         Jack Ridenour
    86   Jack Ridenour Deposition Exhibit 2: CV of Jack     H, I
         Ridenour, and List of Publications
    87   Jack Ridenour Deposition Exhibit 5: List of        H
         FMVSS Crash Tests
    88   Jack Ridenour Deposition Exhibit 6: NCAP
         FMVSS 305 Test
    89   Jack Ridenour File Produced to Plaintiff -
         Vehicle Inspection Photos
    90   Exemplar/Buck for 2014 Model S                     V, D
    91   Engineering Specification Documents and            V, D
         Exemplar Parts of Model S Front Structural
         Members including:
                    • Front Bumper Beam
                    • Upper and Lower Front Cross
                        Members
                    • Front Frame Rail
                    • Upper Fender Extension
                    • A-pillar
                    • Front Floor and Cowl Structure
                    • Front Sub-Frame
                    • Connecting Components
    92   Photos of front structures of other vehicles to    V
         compare to subject vehicle
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 7 of 23




    93    All accident scene and Riley Tesla Car photos         B
          and videos

    94    NHTSA FMVSS 301 and 305 regulations                   H
    95    All Model S Front and Side Crash Test Reports,        B
          Photos and Video from NHTSA and Insurance
          Institute for Highway Safety

    96    Press releases, news reports, internet and            B, H, R, I, UP
          published articles describing Tesla Model S
          awards, and consumer and safety rating.
    97    Sridhar Natarajan Deposition Exhibit 3: Riley         H
          Autopsy Summary Notes
    98    Sridhar Natarajan Deposition Exhibit 4: Scene
          Photo Summary
    99    Sridhar Natarajan Expert report and CV                H, I
    100   Sridhar Natarajan File Produced to Plaintiff -        H, I
          Report by Sridhar Natarajan, dated May 21,
          2021
    101   Video recordings with annotations and/ or             V, B, D
          overlying demonstrative/ silhouette illustrations
    102   Illustrations depicting relevant normal anatomy,      V, B, D
          injured anatomy, and/or injury mechanisms for
          Mr. Monserratt and Mr. Riley
    103   Demonstrative graphics pertaining to the subject      V, B, D
          incident and decedents which may involve
          refining photographs, annotating, and/or adding
          silhouette illustrative overlays of scene and
          autopsy photographs to illustrate medical
          forensic findings or opinions
    104   Figures/illustrations/photographs/tables from         B, H, I
          relevant literature and textbooks
    105   Illustrations and/or literature excerpts describing   B, H, I
          and/or depicting involuntary motions due to
          central nervous system injury
    106   James Riley Deposition Exhibit 1: Text
          Messages (RILEY 3079-3080)
    107   James Riley Deposition Exhibit 2: Text
          Messages with Meme (RILEY 4072)
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 8 of 23




    108   James Riley Deposition Exhibit 3: Barrett Riley   MIL, R, UP
          drifting video
    109   Text message Barrett Riley & Joseph
          Constantino (RILEY 4161-4163)
    110   Text message Barrett Riley & Tesla Service
          Center (RILEY 4165)
    111   Repair order (TESLA00000950-951 and 956-
          957)
    112   Text message Jenny Riley & Joseph Constantino
          (TESLA00000331)
    113   Text message Barrett Riley & Tesla service
          advisor text (RILEY 4084)
    114   Text message Barrett Riley & Tesla service
          center text re Barrett getting car serviced
          (RILEY 4166)
    115   Text message Barrett Riley & Tesla service
          advisor (RILEY 4083)
    116   Text message Barrett Riley & Tesla service
          center (RILEY 4092)
    117   Text message Barrett Riley & Tesla service
          center (RILEY 4083)
    118   Repair order (TESLA-00000954-955, 958-968)
    119   Text message Barrett Riley & James Riley
          (RILEY 3073, 3079-3080)
    120   Text message Barrett Riley & James Riley          R
          (RILEY 4169)
    121   Text message Barrett Riley & James Riley          R
          (RILEY 4175)
    122   Text message Barrett Riley & James Riley
          (RILEY 4088)
    123   Text message Barrett Riley & James Riley
          (RILEY 4176)
    124   Text message Barrett Riley & James Riley          R
          (RILEY 4089)
    125   Text message Barrett Riley & Edgar Monserratt     H, R
          (RILEY 4122)
    126   Text message Barrett Riley & Adam Cohen           H, R
          (RILEY 4144)
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 9 of 23




    127   Text message Barrett Riley & Beckton Peddy       H, R
          (RILEY 4127)
    128   Text message Barrett Riley & James Riley         R
          (RILEY 4170)
    129   Text message Barrett Riley & Edgar Monserratt    H, R
          (RILEY 4123)
    130   Text message Barrett Riley & James Riley
          (RILEY 4172)
    131   Text message Barrett Riley & Edgar Monserratt    H, R
          (RILEY 4124)
    132   Text message Barrett Riley & Jenny Riley –       R
          Teslas (RILEY 4106)
    133   Text message Riley family members (RILEY
          4148)
    134   Text message Barrett Riley & Michel Spobanvy     H, R
          (RILEY 4158)
    135   Text message Barrett Riley & Sophia S. (RILEY    H, R
          4043)
    136   Text message Barrett Riley & Adam Cohen          H, R
          (RILEY 4116, 4045)
    137   Text message Barrett Riley & Jenny Riley         R
          (RILEY 4104-4105)
    138   Text message Barrett Riley & Alexander Berry     H, R
          (RILEY 4064)
    139   Text message Barrett Riley & Adam Cohen          H, R
          (RILEY 4119)
    140   Text message Barret Riley & Adam Cohen           H, R
          (RILEY 4155)
    141   Text message Barrett Rile & Jenny Riley          R
          (RILEY 4103)
    142   Text message Barrett Riley & Beckton Peddy       R
          (RILEY 4055)
    143   Text message Barrett Riley & Edgar Monserratt    R
          (RILEY 4051)
    144   Text message Barrett Riley & James Riley         H, R
          (RILEY 4046)
    145   Text message Barrett Riley & Alexander Berry     H, R
          (RILEY 4065)
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 10 of 23




     146   Text message Barrett Riley & Roberto D.          H, R
           (RILEY 4167-4168)
     147   Text message Barrett Riley & Alexander Berry     H, R
           (RILEY 4066)
     148   Text message Barrett Riley & Adam Cohen          H, R
           (RILEY 4120)
     149   Text message Barrett Riley & Adam Cohen          H, R
           (RILEY 4033 and Riley 4047)
     150   Text message Barrett Riley & Adam Cohen          H, R
           (RILEY 4121)
     151   Text message Barrett Riley (RILEY 4036)          MIL, R, UP
                                                            (exhibit is
                                                            misdescribed)
     152   Text message Barrett Riley & Beckton Peddy       H, R
           (RILEY 4131)
     153   Text message Barrett Riley (RILEY 4076)          H, R
     154   Text message Barrett Riley & Edgar Monserratt    H, R
           (RILEY 4053)
     155   Text message Riley family (RILEY 4072)
     156   Text message Barrett Riley & James Riley         R
           (RILEY 4178)
     157   Text message Barrett Riley & James and Jenny     R
           Riley (RILEY 4150)
     158   Text message Riley family (RILEY 4151)           R
     159   Text message Barrett Riley & James Riley         R
           (RILEY 4069)
     160   Text message Barrett Riley and Juliana Ables     H, R
           (RILEY 4095-4096), Ana S. (RILEY 4097),
           Sherry Stenglein (RILEY 4098-4100), Michael
           Spovaobny (RILEY 4108), Spencer Tobin
           (RILEY 4109) and Maria Emilia Ballesteros
           (RILEY 4110-4111)
     161   Text message James Riley (TESLA-00000204 -
           207)
     162   Chart showing daily top speed of the subject     MIL, R, UP
           vehicle from 1/1/18-5/4/18 – TESLA-00000594
     163   Video produced by Edgar Monserratt in Edgar      MIL, R, UP
           Monserratt, et al. v. James Riley, et al.
           (Monserratt 33)
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 11 of 23




     164   Video produced by Edgar Monserratt in Edgar       MIL, R, UP
           Monserratt, et al. v. James Riley, et al
           (Monserratt 34)
     165   Video produced by Edgar Monserratt in Edgar       MIL, R, UP
           Monserratt, et al. v. James Riley, et al
           (Monserratt 61)
     166   Video produced by Edgar Monserratt in Edgar       MIL, R, UP
           Monserratt, et al. v. James Riley, et al
           (Monserratt 75)
     167   Video produced by Edgar Monserratt in Edgar       MIL, R, UP
           Monserratt, et al. v. James Riley, et al
           (Monserratt 85)
     168   Video produced by Edgar Monserratt in Edgar       MIL, R, UP
           Monserratt, et al. v. James Riley, et al
           (Monserratt 95)
     169   Video produced by Edgar Monserratt in Edgar       MIL, R, UP
           Monserratt, et al. v. James Riley, et al
           (Monserratt 96)
     170   Video produced by Edgar Monserratt in Edgar       MIL, R, UP
           Monserratt, et al. v. James Riley, et al
           (Monserratt 107)
     171   Video produced by Edgar Monserratt in Edgar       MIL, R, UP
           Monserratt, et al. v. James Riley, et al
           (Monserratt 160)
     172   Video produced by Edgar Monserratt in Edgar       MIL, R, UP
           Monserratt, et al. v. James Riley, et al
           (Monserratt 200)
     173   Video produced by Edgar Monserratt in Edgar       MIL, R, UP
           Monserratt, et al. v. James Riley, et al
           (Monserratt 203)
     174   Jenny Riley Deposition Exhibit 1: Text messages
           (RILEY 3073, 3079-3080)
     175   Jenny Riley Deposition Exhibit 2: Text
           Messages with Meme (RILEY 4072)
     176   Jenny Riley Deposition Exhibit 3: Text            R
           Messages with Shari Stenglein
     177   Reagan Riley Deposition Exhibit 1: Text
           Messages with meme (RILEY 4072)
     178   Reagan Riley Deposition Exhibit 2: Photo of
           Tesla and Barrett and Reagan Riley in driveway
     179   Reagan Riley Deposition Exhibit 3: Text           H, R
           Messages between Barrett Riley and Edgar
           Monserratt (RILEY 4051)
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 12 of 23




     180   Reagan Riley Deposition Exhibit 4: Text             H, R
           Messages between James Riley and Edgar
           Monserratt Sr
     181   Edgar Monserratt Deposition Exhibit 1: Video of     MIL, R, UP
           drifting
     182   Edgar Monserratt Deposition Exhibit 2: Text         H, R
           Messages between James Riley and Edgar
           Monserratt (July 7, 2018)
     183   Alexander Berry Deposition Exhibit 1: Sidewalk
           photograph at scene
     184   Alexander Berry Deposition Exhibit 2: Berry         H
           statement taken by Officer Williams
     185   Alexander Berry Deposition Exhibit 3: Berry         H
           statement taken by Tom Barth
     186   Alexander Berry Deposition Exhibit 4: “Im           MIL, R, UP
           Gonna Die” Video
     187   Alexander Berry Deposition Exhibit 5:
           Instagram Post
     188   Alexander Berry Deposition Exhibit 7: Berry         H, R
           texts with Juliana Ables
     189   Alexander Berry Deposition Exhibit 9: Berry         H, R
           texts with Juliana Ables
     190   Alexander Berry Deposition Exhibit 12: Texts        H, R, UP
           with Regan Riley
     191   Alexander Berry Deposition Exhibit 13: Video        H, R, UP
           of text messages with Juliana Ables - File ending
           in -377
     192   Alexander Berry Deposition Exhibit 14: Video        H, R, UP
           of text messages with Juliana Ables - File ending
           in -542
     193   Alexander Berry Deposition Exhibit 15: Video        H, R, UP
           of text messages with Juliana Ables - File ending
           in -699
     194   Alexander Berry Deposition Exhibit 16: Video        H, R, UP
           of text messages with Juliana Ables - File ending
           in -194
     195   Alexander Berry Deposition Exhibit 17: Video        H, R, UP
           of text messages with Juliana Ables - File ending
           in -274
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 13 of 23




     196   Alexander Berry Deposition Exhibit 18: Video        H, R, UP
           of text messages with Juliana Ables - File ending
           in -686
     197   Alexander Berry Deposition Exhibit 19: Video        H, R, UP
           of text messages with Juliana Ables - File ending
           in -365
     198   Alexander Berry Deposition Exhibit 21:              H, R, UP
           Alexander Berry’s Amended Complaint
     199   Beckton Peddy Deposition Exhibit E: Composite       MIL, R, UP
           of (48) photographs and videos produced by
           Beckton for deposition
     200   Beckton Peddy Deposition Exhibit G:                 MIL, R, UP
           Composite of (4) Videos produced by Matt
           Cohen
     201   Larry Groshart Deposition Exhibit 2: Street
           photograph
     202   Juliana Ables Deposition Exhibit A: Im Gonna        MIL, R, UP
           Die video
     203   Juliana Ables Deposition Exhibit F: Composite       MIL, R, UP
           of (5) videos
     204   Juliana Ables Deposition Exhibit G: Video file      H, R, UP
           of text messages produced by Alex Berry
           (ending in -5377)
     205   Juliana Ables Deposition Exhibit H: Video file      H, R, UP
           of text messages produced by Alex Berry
           (ending in -5422)
     206   Juliana Ables Deposition Exhibit I: Video file of   H, R, UP
           text messages produced by Alex Berry (ending
           in -5699)
     207   Juliana Ables Deposition Exhibit J: Video file of   H, R, UP
           text messages produced by Alex Berry (ending
           in -6194)
     208   Juliana Ables Deposition Exhibit K: Video file      H, R, UP
           of text messages produced by Alex Berry
           (ending in -6686)
     209   Matthew Cohen Deposition Exhibit A:                 H, R
           Instagram post with photograph
     210   Matthew Cohen Deposition Exhibit D: Video           MIL, R, UP
           MC1 Produced by Cohen
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 14 of 23




     211   Matthew Cohen Deposition Exhibit E:Video          MIL, R, UP
           MC2 Produced by Cohen
     212   Matthew Cohen Deposition Exhibit F: Video         MIL, R, UP
           MC3 Produced by Cohen
     213   Matthew Cohen Deposition Exhibit G: Video         MIL, R, UP
           MC4 Produced by Cohen
     214   Matthew Cohen Deposition Exhibit H: Video         MIL, R, UP
           MC5 Produced by Cohen
     215   Matthew Cohen Deposition Exhibit I: Video         MIL, R, UP
           MC6 Produced by Cohen
     216   Matthew Cohen Deposition Exhibit J:               MIL, R, UP
           Photograph
     217   Matthew Cohen Deposition Exhibit K: Text          H, R
           messages between Riley and Monserratt
     218   Shari Stenglein Deposition Exhibit A: Video       MIL, R, UP
     219   Shari Stenglein Deposition Exhibit D: Stenglein   H, R
           text messages with Jenny Riley
     220   Shari Stenglein Deposition Exhibit E: Video -     MIL, R, UP
           3816.mp4 produced for deposition
     221   Shari Stenglein Deposition Exhibit G: Video -     MIL, R, UP
           1861.mov produced for deposition
     222   Christian Catanese Deposition Exhibit B: Im       MIL, R, UP
           Gonna Die video
     223   Jake Shapiro Deposition Exhibit 9: Screen shot
           2020-11-11
     224   Jake Shapiro Deposition Exhibit 10: Im Gonna      MIL, R, UP
           Die Video
     225   Joseph Constantino Deposition Exhibit 2
     226   Joseph Constantino Deposition Exhibit 4
     227   Scott Kohn Deposition Exhibit 1: Patent
           Application - Cell Cap Assembly with Recessed
           Terminal
     228   Scott Kohn Deposition Exhibit 2: Patent -Cell
           Thermal Runaway Propagation Resistance Using
           Dual Intumescent Layers
     229   Scott Kohn Deposition Exhibit 3: Photo - Tesla
           Model 3 Battery Pack
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 15 of 23




     230   Scott Kohn Deposition Exhibit 6: Tesla
           Uncompromised Electric Vehicles - Model S B3
           Thermal Even Study (3 Bay) - Battery
           Engineering & Safety and Technology Lab,
           1/21/11
     231   Scott Kohn Deposition Exhibit 7: Tesla
           Uncompromised Electric Vehicles - Pull Back
           Thermal Event NCR-BA 6.25 mm AI Frame,
           12/19/11



               EXHIBITS DEFENDANT MAY OFFER IF THE NEED ARISES

     NO.           DESCRIPTION OF EXHIBIT                    DATE     OBJECTIONS   ADMITTED
                                                            OFFERED
     232   Fort Lauderdale Police Department - Traffic                H, R, UP
           Homicide Investigation Report
     233   Fort Lauderdale Fire Rescue - Incident Report              H, R, UP
     234   James Walker Deposition Exhibit 1: Monserrat
           v Tesla - Speed Calculations
     235   James Walker Deposition Exhibit 4: Drag factor
           references
     236   James Walker Deposition Exhibit 6: Test curve
           radii
     236   James Walker Deposition Exhibit 7: Curve radii
           (2)
     238   James Walker Deposition Exhibit 11: North
           Wall Impact Angle
     239   James Walker Deposition Exhibit 12: North
           Wall Trig Calcs
     240   James Walker Deposition Exhibit 11: North
           Wall Impact Angle
     241   James Walker Deposition Exhibit 17: SAE                    H, R
           C0315 2017
     242   James Walker Deposition Exhibit 25: 8091_a
           061
     243   James Walker Deposition Exhibit 27: 2014                   H, R
           Tesla Exemplar 4Ups
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 16 of 23




     NO.           DESCRIPTION OF EXHIBIT                    DATE     OBJECTIONS   ADMITTED
                                                            OFFERED
     244   James Walker Deposition Exhibit 29: 9233 Test              H
           Summary
     245   James Walker Deposition Exhibit 31: CEI                    H, R
           Scene Inspection Notes (3.25.21)
     246   James Walker Deposition Exhibit 32: CEI                    H, R
           Vehicle Inspection Notes (9.11.20)
     247   James Walker Deposition Exhibit 34: Scene                  H, R
           Inspection Notes (5.24.18)
     248   James Walker File (07) Produced to Plaintiff -             B, H, R
           2014 Tesla Model S Materials
              - Crash Tests Produced by Tesla
              - Model S P85D Data Panel
              - Monroney_5YJSA1H24EFP62693.pdf
              - Sales Brochure - 2014 Model S
              - Tesla 00003773 - Battery Diagram
              - VIN Report
           Year Model Interchange Database
     249   James Walker File (12) Produced to Plaintiff -             H, R
           Presentation - SAE C0315 - Introduction to
           Brake Control Systems
     250   James Walker File (13) Produced to Plaintiff -             H, R
           Presentation - SAE C0414 - Applied Vehicle
           Dynamics
     251   James Walker File (14) Produced to Plaintiff -             H, R
           Presentation - SAE C0718 - High Performance
           Brake Systems
     252   James Walker File (15) Produced to Plaintiff -             H, R
           Publication - High Performance Brake Systems,
           Design, Selection, Installation
     253   James Walker File (16) Produced to Plaintiff -             H, R
           Walker CV
     254   Road & Track data panel for 2014 Tesla Model               H, R
           S P85D
     255   Elizabeth Raphael Deposition Exhibit 1 -                   H, I
           Report by Elizabeth Raphael, dated May 21,
           2021
     256   Elizabeth Raphael Deposition Exhibit 2 - Notes             H
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 17 of 23




     NO.           DESCRIPTION OF EXHIBIT                      DATE     OBJECTIONS   ADMITTED
                                                              OFFERED
     257   Elizabeth Raphael Deposition Exhibit 7 - Case                H
           Details
     258                                                                H, I, UP




     259   Elizabeth Raphael File - Literature                          H, I, UP




     260   Jack Ridenour Deposition Exhibit 3: List of                  H
           materials received for review
     261   Jack Ridenour File Produced to Plaintiff -                   B, H, I, R
           TESLA-00007378-7440
     262   Jack Ridenour File Produced to Plaintiff - Tesla             H, R, UP
           Model S Achieves Best Safety Rating of Any
           Care Ever Tested
     263   NTSB investigation file materials for this                   B
           accident
     264   Tesla Model S Awards                                         H, R, UP
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 18 of 23




     NO.          DESCRIPTION OF EXHIBIT                        DATE     OBJECTIONS   ADMITTED
                                                               OFFERED
             •   2013 AutoGuide.com Reader's Choice
                 Car of the Year
             •   2013 World Green Car of the Year.
             •   Automobile Magazine's 2013 Car of the
                 Year, a unanimous decision.
             •   CNET Tech Car of the Year for 2012
             •   Consumer Reports gave the Model S a
                 score of 103 out of 100, its highest ever.
                 The Model S broke the rating scale of
                 Consumer Reports during its most
                 recent test.
             •   Consumer Reports' 2013 survey of
                 owner satisfaction
             •   Consumer Reports found the Model S to
                 be 'Best Overall' for 2014 across all 10
                 categories of cars, light trucks and
                 SUVs, chosen from more than 260
                 vehicles the organization has recently
                 tested. The magazine considers the
                 Model S a "technological tour de force,
                 while pricey, is brimming with
                 innovation." In 2015 they rated the
                 Model S at 103 (breaking the scale).
             •   Green Car Reports' Best Car To Buy
                 2013
             •   Hagerty Greatest Car of the Decade
                 (2010s)
             •   Motor Trend 2013 Car of the Year, also
                 a unanimous decision and the first
                 winner in the award's history to not be
                 powered by an internal combustion
                 engine.[394] In 2019, Motor Trend
                 selected it as the ultimate car of the year
                 over the last 70 years.
             •   Natural Resources Canada 2013
                 EcoENERGY for Vehicles Awards in
                 the full-size category
             •   Popular Science's Auto Grand Award
                 Winner Best of What's New list 2012.
             •   The Telegraph included the Model S in
                 its list of the top 10 cars that changed
                 the world published in December 2014,
                 and also named the electric sedan the
                 most important car of the last 20 years.
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 19 of 23




     NO.           DESCRIPTION OF EXHIBIT                  DATE     OBJECTIONS    ADMITTED
                                                          OFFERED
              •  Time Magazine Best 25 Inventions of
                 the Year 2012 award. In 2019, the
                 model S was included in the Time
                 Magazine list of best gadgets of the
                 2010s.
              • Yahoo! Autos 2013 Car of the Year.
              • American Automobile
                 Association Green Car Guide 2015, top
                 spot (P85D). The Model S also won the
                 2014 AAA Green Car Guide.
           2019 Green Car Reports Car of the Decade.
     265   Severity of Impact Speed Equivalent Drop                 H, D
           Height Sketch

     266   Sridhar Natarajan File Produced to Plaintiff             H, R, I, UP
           (Literature)




     267   Alexander Berry Deposition Exhibit 6: Berry              H, R, UP
           texts with Edgar Monseratt Sr
     268   Alexander Berry Deposition Exhibit 8: Berry              H, R, UP
           texts with his father
     269   Alexander Berry Deposition Exhibit 10: Texts             H, R, UP
           with 954-646-8228
     270   Alexander Berry Deposition Exhibit 11:                   H, R
           Communication with Jenny Riley
     271   Adam Cohen Deposition Exhibit 2: Photo
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 20 of 23




     NO.           DESCRIPTION OF EXHIBIT                   DATE     OBJECTIONS   ADMITTED
                                                           OFFERED
     272   Adam Cohen Deposition Exhibit 3: Accident
           site aerial photograph
     273   Beckton Peddy Deposition Exhibit A: Im                    MIL, R, UP
           Gonna Die video
     274   Beckton Peddy Deposition Exhibit B: Subject               MIL, R, UP
           Vehicle Max Speed Excel spreadsheet
     275   Beckton Peddy Deposition Exhibit F: Edgar                 H, R, UP
           Monserratt’s Vlog at Prestige Imports
     276   Beckton Peddy Deposition Exhibit H: Video                 MIL, R, UP
           MC2
     277   Beckton Peddy Deposition Exhibit I: Video                 MIL, R, UP
           MC3
     278   Beckton Peddy Deposition Exhibit J: Video                 MIL, R, UP
           MC4
     279   Beckton Peddy Deposition Exhibit K: Peddy                 H, R, UP
           text messages with Edgar Monserratt Sr
     280   Larry Groshart Deposition Exhibit 1: Google
           Earth photograph
     281   Cosmin Ilonta Deposition Exhibit 1 – Fire                 H
           rescue report
     282   Cosmin Ilonta Deposition Exhibit 2 – Fire                 H
           rescue report
     283   Juliana Ables Deposition Exhibit D1: Text                 H, R
           messages between Ables and Jenny Riley
     284   Juliana Ables Deposition Exhibit D2: Text                 H, R
           messages between Ables and Jenny Riley
     285   Juliana Ables Deposition Exhibit E1: Text                 H, R
           messages between Ables and Edgar Monserratt
           Sr
     286   Juliana Ables Deposition Exhibit E2: Text                 H, R
           messages between Ables and Edgar Monserratt
           Sr
     287   Shari Stenglein Deposition Exhibit F: Video -             MIL, R, UP
           A059.mov produced for deposition
     288   Shari Stenglein Deposition Exhibit H: Video -             MIL, R, UP
           79459.mov produced for deposition
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 21 of 23




     NO.           DESCRIPTION OF EXHIBIT                   DATE     OBJECTIONS   ADMITTED
                                                           OFFERED
     289   Shari Stenglein Deposition Exhibit I: Video -             MIL, R, UP
           EEA6.mov produced for deposition
     290   Shari Stenglein Deposition Exhibit J:                     H, R
           Photograph 4158.png produced for deposition
     291   Shari Stenglein Deposition Exhibit K:                     H, R
           Photograph 4159.png produced for deposition
     292   Shari Stenglein Deposition Exhibit L:                     H, R
           Photograph 4160.png produced for deposition
     293   Shari Stenglein Deposition Exhibit M:                     H, R
           Photograph 4200.png produced for deposition
     294   Shari Stenglein Deposition Exhibit N:                     H, R
           Photograph 4218.png produced for deposition
     295   Jake Shapiro Deposition Exhibit 1: Photograph
           0499
     296   Jake Shapiro Deposition Exhibit 3: Photograph
           2026
     297   Jake Shapiro Deposition Exhibit 4: Photograph
           4436
     298   Jake Shapiro Deposition Exhibit 5: Photograph
           7574
     299   Jake Shapiro Deposition Exhibit 6: Photograph
           9332
     300   Jake Shapiro Deposition Exhibit 7: Video                  MIL, R, UP
           IPS1D765532
     301   Jake Shapiro Deposition Exhibit 8: Video                  MIL, R, UP
           IPSPS0F6143
     302   Jake Shapiro Deposition Exhibit 1: Photograph             B, V
           0499
     303   Materials Produced by Riley to Tesla                      B, V
           Bates Nos. RILEY000001 - RILEY004480
     304   Materials Produced by Tesla to Riley -                    B, V
           Bates Nos. TESLA-00000001 through TESLA-
           00007440
     305   Materials Produced by Edgar Monserratt to                 B, V
           Riley and Tesla in Monserratt v. Riley and
           Tesla
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 22 of 23




     NO.             DESCRIPTION OF EXHIBIT                             DATE      OBJECTIONS         ADMITTED
                                                                       OFFERED
     306    Plaintiff’s Responses to Tesla’s First Request                        H, R
            for Production dated October 8, 2020
     307    Plaintiff’s Responses to Tesla’s First
            Interrogatories dated October 17, 2020
     308    Any exhibits listed in Defendant’s Exhibit List
            (w/o waiver of Plaintiff’s objections to their
            relevance or admissibility)
     309    All documents contained in the files produced                         B, V
            for defense experts Ashish Arora, Sridhar
            Nataranjan, Elizabeth Raphael, Jack Ridenour,
            and James Walker
     310    All documents contained in the files produced                         B, V
            for plaintiff’s experts Robert Caldwell, Kelly
            Kennett and Ralph White
     311    NTSB Doc. 11 – Highway Factors Group                                  H, I
            Factual Report
     312    NTSB Doc. 16 – Highway Factors Group                                  H, I
            Attachment – SR A1A Speed Study 2015
     313    NTSB Doc. 19 – Video Study                                            H, I
     314    NTSB Doc. 20 – Vehicle Recorders –                                    H, I
            Specialist’s Factual Report – Attachment 1
     315    Friction circle materials (C0315 and C0414                            V
            slides)
     316    Analysis of reconstruction of Robert Caldwell                         V


    *Per USDC - Southern District of Florida Local Rules, following are the codes to be used for objections:

     A       Authenticity
     B      Bulk
     D      Demonstrative (exhibit appears to be a demonstrative,
            which would not be introduced into evidence)
     H       Hearsay
     I       Inadmissible (contains inadmissible matter)
     M      Subject of Motion in Limine
     R       Relevancy
     UP      Unduly prejudicial (probative value outweighed by
            undue prejudice)
     V      Vague (description of the exhibit does not allow
            Plaintiff to determine what the exhibit is or whether it
            has been produced)
Case 0:20-cv-60517-AOV Document 76-2 Entered on FLSD Docket 09/10/2021 Page 23 of 23




       Defendant respectfully reserves the right to amend and or supplement this Trial Witness List.


                                                       Respectfully submitted,


                                                       /s/ Robert J. Rudock
                                                       VINCENT GALVIN
                                                       Pro Hac Vice
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                                                       Florida Bar No. 800821
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                                                       Tesla, Inc. a/k/a Tesla Florida, Inc.
